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FILED
UNITED STATES DISTRICT COURT OCT 2 4 2019

 

 

 

 

for the U.S, DISTRICT COURT-WVND
Northern District of West Virginia CLARKSBURG, WV 26301
United States of America )
Vv. )
) Case No. 1:19-MJ-I5b 7
/ )
Robert Vaughn fug Aas ) Charging District’s
Defendant ) Case No. 19-MJ-348
COMMITMENT TO ANOTHER DISTRICT
The defendant has been ordered to appearinthe Districtof Minnesota ,
(if applicable) division. The defendant may need an interpreter for this language:

 

 

The defendant: [1 will retain an attorney.

Dx is requesting court-appointed counsel.
The defendant remains in custody after the initial appearance, as a result of.

x Waiving his or her right to have a detention hearing in the Northern District of West Virginia and
opting to have his detention hearing held in the charging district instead; accordingly,

The Government's Motion to Detain (ECF No. ) is GRANTED for the limited purpose of
transfer to the charging district and temporary detention until the issue of detention is heard
and decided in the charging district.

[X] A detention hearing shall be set in the charging district at the earliest possible time after the Defendant
has had an opportunity to confer with counsel. Pending that hearing, Defendant shall be held in the
custody of the United States Marshal and produced at the hearing.

[1A detention hearing was held in the Northern District of West Virginia and Defendant failed to meet
his or her burden to show that he or she was not a [J flight risk or a L] danger to the community for the
reasons set forth in more detail on the record and/or in the detention order.

IT IS ORDERED: The United States Marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States Marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the
United States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may
be promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.

 

Judge's Signature

Date: October 24, 2019 Michael John Aloi, United States Magistrate Judge

 

Printed name and title
